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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA

vs.                                          Case No. 5:23cr23-TKW/MJF

HELEN CHRISTINE JONES
_________________________________________________________________

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count one of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary,

and that the offenses charged are supported by an independent basis in fact

containing each of the essential elements of such offenses. I therefore recommend

that the plea of guilty be accepted and that the Defendant be adjudicated guilty and

have sentence imposed accordingly.

Dated: October 4, 2023


                                /s/ Michael J. Frank
                                MICHAEL J. FRANK
                                UNITED STATES MAGISTRATE JUDGE




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                                      NOTICE

       Objections to these proposed findings and recommendations must be filed
within twenty four (24) hours of the date of the report and recommendation. Any
different deadline that may appear on the electronic docket is for the court’s
internal use only, and does not control. A copy of objections shall be served upon
all other parties. If a party fails to object to the magistrate judge's findings or
recommendations as to any particular claim or issue contained in a report and
recommendation, that party waives the right to challenge on appeal the district
court's order based on the unobjected-to factual and legal conclusions. See 11th
Cir. Rule 3-1; 28 U.S.C. § 636.




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